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           IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF GEORGIA
                     AUGUSTA DIVISION

FRANK DWIGHT MACK,                                    CIVIL ACTION NO.

      Plaintiff,


Vs.

TI’QUITA MILES,

      Defendant.


                              COMPLAINT

      Plaintiff, Frank Dwight Mack, Jr. (“Mack”), files this Complaint

pursuant to 42 U.S.C. § 1983 and states as follows:

                               PLAINTIFF

                                     1.

      Plaintiffs Mack was at all times relevant incarcerated at the Augusta

State Medical Prison in Augusta, Georgia in the Georgia Department of

Corrections which is within the Southern District of Georgia.

                              DEFENDANTS

                                     2.

      The Defendant Officer Miles was at all times relevant an officer

employed at the Augusta State Medical Prison in Augusta, Georgia. The
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Defendant may be served with process at Augusta State Medical Prison

located at 3001 Gordon Highway, Grovetown, GA 30813 which is within the

Southern District of Georgia.

                                JURISDICTION

                                      3.

      Jurisdiction for this action is pursuant to 28 U.S.C. § 1331 and arises

under the Constitution of the United States and 42 U.S.C. § 1983.

                                   VENUE

                                      4.

      Venue is proper pursuant to 28 U.S.C. § 1391 in the United States

District Court for the Southern District of Georgia where at all times relevant

the acts of the Defendant occurred giving rise to this cause of action at

Augusta State Medical Prison located at 3001 Gordon Highway, Grovetown,

GA 30813 which is within the Southern District of Georgia. The Defendant

resides and may be found and served in the Southern District of Georgia.

                      PREREQUISITES TO FILING

                                      5.

       Plaintiff has no prerequisites to filing as required under the Prison

Litigation Reform Act, 42 U.S.C. § 1997e as he is no longer incarcerated.
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                           OPERATIVE FACTS

                                      6.

      On March 31, 2017, Plaintiff Mack was brutally stabbed nine times by

an inmate at Augusta State Medical Prison who was unlawfully allowed

access to Plaintiff Mack’s dorm.

                                      7.

      At around 9:00 PM or 9:30 PM the night of the incident, Officer Miles

was the acting booth officer performing the official count. During this time,

Officer Miles opened the door to Dorm 3 while the door to Dorm 2 was open,

allowing the inmate from Dorm 3 who eventually stabbed Plaintiff Mack to

gain access to Plaintiff Mack in Dorm 2.

                                      8.

      The inmate who stabbed Plaintiff Macke entered Dorm 2 and brutally

attacked him while he was asleep in his wheelchair, stabbing him nine times

in his shoulder, arm, armpit and stomach at around 10:15 PM. Plaintiff Mack,

shocked at what was happening, got out of his wheelchair and tried to get

behind it as a shield to protect himself. The inmate who stabbed Plaintiff Mack

fled from Dorm 2 immediately following the incident.
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                                      9.

      After the attack, Officer Robertson, the acting floor officer headed to

Dorm 2 and entered through the side door from Dorm 3 which Officer Miles

left open. Officer Robertson asked Plaintiff Mack what happened to which he

responded in excruciating pain that he had been stabbed by another inmate.

                                     10.

      Following the incident, Plaintiff Mack bled out as other inmates

retrieved sheets and rags to try to stop Plaintiff Mack’s blood loss. Around

this time, Officer Miles made it back to Dorm 2 where Plaintiff Mack asked

why Officer Miles allowed the inmate to come in and brutally attack him, to

which Officer Miles just smiled. Plaintiff Mack was taken to the hospital later

that night to receive treatment for his multiple stab wounds.

                           CAUSE OF ACTION

                                     11.

      Defendant Miles failed to protect Plaintiff Mack by opening the doors

connecting dorms 2 and 3, allowing an inmate to gain access to Plaintiff

Mack’s dorm and stab him nine times.
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                                         12.

      Defendant Officer Miles acted with reckless disregard and was

deliberately indifferent to her duty while assigned take the official count of

the inmates the night of the incident.

                                         13.

      Plaintiff Mack brings this action against the Defendant, in her

individual capacity for damages who under color of law have caused or have

been deliberately indifferent to the substantial risk of serious harm to Plaintiff

Mack which did cause serious injury, pain and suffering resulting in damages

in violation of the Eighth Amendment of the Constitution and laws of the

United States and the Constitution and laws of the State of Georgia.

                                         14.

      The Defendant in her capacity knew that her actions or deliberate

indifference would pose a substantial risk of serious harm to Plaintiff Mack in

violation of the Constitution and laws of the United States and the

Constitution and laws of the State of Georgia. The actions of the Defendant

under color of violated clearly established constitutional rights of which they

knew or a reasonable person would have known. The pre-existing law was

apparent and its contours sufficiently clear that they should have understood

that what the Defendant was doing in exposing Plaintiff Mack to substantial
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risk of serious harm by failing to protect Plaintiff Mack from potential and the

actual resulting attack by another inmate violated the Eighth Amendment of

the Constitution and laws of the United States and the Constitution and laws

of the State of Georgia.

                                      15.

      Plaintiff Mack is entitled to recover damages as provided by law from

the Defendant, in her individual capacity in compensation for the injuries that

he received because of actions and deliberate indifference of the Defendant.

      WHEREFORE, Plaintiff Mack prays that the Court grant the relief to

which he is entitled in this proceeding, including:

      (1)       That the Plaintiff Mack be awarded compensatory damages,

                against the Defendant in her individual capacity for her

                deliberate indifference in failing to maintain adequate security

                and other minimum security measures to protect Plaintiff

                Mack from the violent stabbing attack by another inmate and

                his resulting injuries in violation of the Eighth Amendment of

                the United States Constitution, the laws of the United States,

                the Georgia Constitution and the laws of the State of Georgia;

      (2)       That the Court award attorney’s fees and the costs of this

                action;
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     (3)      That the Court award such other relief as may be proper:

     (4)      That this case be tried by jury.


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